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                                                             U.S. Department of Justice

                                                             United States Attorney
                                                             District of New Jersey

__________________________________________________________________________________________________________________

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                                                             Newark, New Jersey 07102




                                                             December 6, 2023


Honorable Claire C. Cecchi, U.S.D.J.
Martin Luther King Federal Building and Courthouse
50 Walnut Street
Newark, New Jersey 07102

                 Re:      United States v. Goettsche et al., Crim. No. 19-877

Dear Judge Cecchi:

             Please find attached a STIPULATION AND MODIFICATION OF
POST INDICTMENT RESTRAINING ORDER (sale of Bitwealth Holdings LLC’s
interest in Opiniion, Inc.) for the Court’s consideration and endorsement.


                                                             Respectfully submitted,

                                                             Philip R. Sellinger
                                                             United States Attorney

                                                             s/ Joseph N. Minish

                                                    By:      Joseph N. Minish
                                                             Assistant U.S. Attorney
